Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 1 of 58            PageID #: 1




 CULPEPPER IP, LLLC
 Kerry S. Culpepper, Bar No. 9837
 75-170 Hualalai Road, Suite B204
 Kailua-Kona, Hawai’i 96740
 Telephone: (808) 464-4047
 Facsimile: (202) 204-5181
 E-Mail:     kculpepper@culpepperip.com

 Attorney for Plaintiffs

                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

  Hunter Killer Productions, Inc.,           )   Case No.: 1:19-cv-168
  TBV Productions, LLC,                      )   (Copyright)
  Venice PI, LLC,                            )
  Bodyguard Productions, Inc., and           )   COMPLAINT; EXHIBITS 1-9;
  LHF Productions, Inc.,                     )   DECLARATION OF DANIEL
                                             )   ARHEIDT; DECLARATION OF
                      Plaintiffs,            )   ERIC SMITH; DECLARATION
      vs.                                    )   OF COUNSEL
                                             )
  Qazi Muhammad Zarlish,                     )   (1) COPYRIGHT
  Pebblebridge Technologies, LLP,            )       INFRINGEMENT
  Vishnudath Reddy Mangilpudi,               )   (2) CONTRIBUTORY
  Hoan Pham,                                 )       COPYRIGHT
  Nghi Phan Nhat,                            )       INFRINGEMENT
  DOES 1-10                                  )   (3) INDUCEMENT
                                             )   (4) FALSE ADVERTISING
                      Defendants.            )   (5) UNFAIR COMPETITION
                                             )   (6) DECEPTIVE TRADE
                                             )       PRACTICES

                                      COMPLAINT

           Plaintiffs Hunter Killer Productions, Inc., TBV Productions, Inc., Venice PI,

 LLC, Bodyguard Productions, Inc., and LHF Productions, Inc. (collectively



 20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 2 of 58               PageID #: 2




 “Plaintiffs”) file this Complaint against Defendants Qazi Muhammad Zarlish,

 Pebblebridge Technologies, LLP, Vishnudath Reddy Mangilpudi, Hoan Pham,

 Nghi Phan Nhat and DOES 1-10 (collectively “Defendants”) and allege as follows:

                          I.     NATURE OF THE ACTION

           1.   Plaintiffs bring this action to stop the massive piracy of their motion

 pictures brought on by the software application Show Box (hereafter: the “Show Box

 app”). The Defendants misleadingly promote the Show Box app as a legitimate

 means for viewing content to the public, who eagerly install the Show Box app to

 watch copyright protected content, thereby leading to profit for the Defendants.

 These Defendants have placed hundreds of individuals in Hawaii if not thousands of

 individuals in the United States in legal peril for copyright infringement while they

 hide behind anonymous domain registrations, false identities and addresses, and

 enjoy the gains from their illicit enterprise.

           2.   To halt Defendants’ illegal activities, Plaintiffs bring this action under:

 (a) the United States Copyright Act of 1976, as amended, 17 U.S.C. §§ 101, et seq.

 (the “Copyright Act”) and allege that Defendants are liable for direct and

 contributory copyright infringement in violation of 17 U.S.C. §§ 106 and 501; (b)

 the Lanham Act of 1946, as amended, 15 U.S.C. §§1051, et seq., and allege that

 Defendants are liable for false and/or misleading misrepresentations in violation of

 15 U.S.C. §1125(a)(1)(B); (C) H.R.S. §480-2 and allege that Defendants are liable

                                              2
 20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 3 of 58            PageID #: 3




 for unfair competition; and (D) H.R.S. §481A-3 and allege that Defendants are liable

 for deceptive trade practices.

                          II.   JURISDICTION AND VENUE

           3.    This Court has subject matter jurisdiction over this action pursuant to

 17 U.S.C. §§ 101, et. seq., (the Copyright Act), 28 U.S.C. § 1331 (federal question),

 15 U.S.C. §1125(a)(1)(B) (the Lanham Act), 28 U.S.C. § 1338 (patents, copyrights,

 trademarks, and unfair competition) and 28 U.S.C. § 1367 (supplemental

 jurisdiction).

           4.    Defendants solicit, transact, or are doing business within this

 jurisdiction, and have committed unlawful and tortious acts both within and outside

 this jurisdiction with the full knowledge that their acts would cause injury in this

 jurisdiction.

           5.    Particularly, Defendants have induced the tortious act of copyright

 infringement in this jurisdiction by their false and/or misleading promotions of the

 Show Box app via their interactive websites.

           6.    Defendants have designed their interactive websites to individually

 target Hawaii users based upon their personal information such as web browsing

 history.

           7.    Upon information and belief, Defendants collect log files including the

 Internet Protocol (“IP”) address, Internet Service Provider (“ISP”) and browser type

                                             3
 20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 4 of 58               PageID #: 4




 of each user who visits their websites.

           8.    Upon information and belief, Defendants use cookies and web beacons

 to store information such as personal preferences of users who visit their websites.

           9.    Upon information and belief, Defendants obtain financial benefit from

 their users in Hawaii via third party advertisements such as Google through the

 Google AdSense program.

           10.   Upon information and belief, Defendants use the cookies, log files

 and/or web beacons to narrowly tailor the website viewing experience to the

 geolocation of the user. Particularly, users in Hawaii receive advertisements based

 upon their location and websites they have previously visited.

           11.   Defendants cause harm to Plaintiffs’ business within this District by

 diverting customers in this District to unauthorized Internet-based content

 distribution services through, at least, their websites and the Show Box app they

 distribute.

           12.   In the alternative, the Court has jurisdiction pursuant to Fed. R. Civ. P.

 4(k)(2), the so-called federal long-arm statute, for at least the following reasons: (1)

 Plaintiffs’ claims arise under federal law; (2) the Defendants purposely directed their

 electronic activity into the United States and target and attract a substantial number

 of users in the United States and, more particularly, this District; (3) Defendants do

 so with the manifest intent of engaging in business or other interactions with the

                                              4
 20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 5 of 58           PageID #: 5




 United State; (4) the Defendants are not subject to jurisdiction in any state’s courts

 of general jurisdiction; and (5) exercising jurisdiction is consistent with the United

 States Constitution and laws.

           13.   Defendants use many United States based sources for their activities

 such as the Internet hosting and domain registrar company Namecheap, Inc., the

 server host provider Choopa, LLC, the server host provider Digital Ocean, LLC, the

 domain registrar GoDaddy.com, Inc., the file hosting service provider MediaFire,

 LLC, the domain registrar company Namesilo, LLC, the name server Cloudflare,

 Inc. and the E-mail providers Google and Microsoft.

           14.   Defendants promote overwhelmingly if not exclusively motion pictures

 produced by United States companies on their websites.

           15.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) - (c)

 because: (a) all or a substantial part of the events or omissions giving rise to the

 claims occurred in this District; and (c)(3) any of the Defendants not a resident of

 the United States may be sued in this District.

                                     III.   PARTIES

                                    A. The Plaintiffs
           16.   The Plaintiffs are owners of the copyrights for the motion pictures

 (hereafter: “Works”), respectively, as shown in Exhibit “1” and listed below.

 Plaintiffs produced and marketed these Works at great expense. Plaintiffs are

                                             5
 20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 6 of 58          PageID #: 6




 currently selling the Works to consumers in Hawaii, throughout the United States,

 and in interstate commerce generally through various distributors, retailers and

 distribution channels.

                    OWNER               MOTION PICTURE               Copyright
                                                                     Certificate
                                                                      Number
                                            Hunter Killer            PA2136168
                  Hunter Killer
                 Productions, Inc.
                                          London Has Fallen          PA1982831
             LHF Productions, Inc.
                                             I Feel Pretty          Pau3896491
            TBV Productions, LLC
                                         Once Upon a Time in         PA2039391
                 Venice PI, LLC
                                               Venice
                                            The Hitman’s            PAu3844508
            Bodyguard Productions,
                                             Bodyguard
                    Inc.



                                      B. The Defendants

           17.    The Defendants distribute copies of the Show Box app and promote it

 for the infringing purpose of “watching free movies”, including Plaintiffs’ Works.

 The Defendants’ promotional language on their websites misleads consumers in the

 general public into believing that Show Box app is a legitimate platform for viewing

 Copyright protected content.

           18.    The Defendants promote the Show Box app in interstate commerce.

           19.    The Defendants distribute the Show Box app in interstate commerce.



                                             6
 20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 7 of 58         PageID #: 7




           20.   The Defendants profit from their distribution and promotion of the

 Show Box app by clickable ads on their websites.

           21.   The Defendants profit from their distribution and promotion of the

 Show Box app by clickable ads on the Show Box app.

           22.   The Defendants profit from their distribution and promotion of the

 Show Box app by delivering Internet traffic from these websites to other websites

 under their control.

                            Defendant Qazi Muhammad, Zarlish

           23.   Defendant Qazi Muhammad, Zarlish (“Zarlish”) is, upon information

 and belief, an individual residing in Multan, Punjab, Pakistan.

           24.   Defendant Zarlish owns and operates the interactive website

 latestshowboxapp.com as of January 28, 2019.

           25.   Defendant Zarlish registered the domain latestshowboxapp.com with

 the registrar Godaddy, Inc., a company headquartered and organized in Arizona.

           26.   Defendant Zarlish hosts the website latestshowboxapp.com with the

 Internet hosting company Namecheap, Inc., a company headquartered in California.

           27.   Namecheap, Inc. has indicated that Defendant Zarlish registered for

 hosting services of the domain latestshowboxapp.com on November 25, 2016.




                                            7
 20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 8 of 58        PageID #: 8




           28.   On the website latestshowboxapp.com, Defendant Zarlish describes

 the Show Box app as “…an app that lets you stream and download latest movies…It

 helps the user to stream newest Movies, TV shows…with no registration”.




           29.   On the website latestshowboxapp.com, Defendant Zarlish includes a

 description under the heading “Is ShowBox legal and safe to use?” Under the

 heading, Defendant includes detailed instructions on features and a link for

 downloading the most recent edition of the Show Box app.




                                           8
 20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 9 of 58       PageID #: 9




           30.   Under the heading “Showbox Apk 2018 Features”, Defendant Zarlish

 describes the Show Box app as including the following features: “User-friendly

 interface…Free streaming app for Movies…Access the newest releases information

 individually…Download movies or TV shows directly from the Torrents; Free

 Movie Downloads; Free Music Downloads…”




                                          9
 20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 10 of 58                 PageID #: 10




            31.    As of January 28, 2019, clicking on the link to download Show Box

  app       on    Defendant   Zarlish’s   website   brings   a   user   to   the    website

  https://www.mediafire.com/file/uure2xsrhvpvk8l/latestshowboxapp.com_v5.11.ap

  k/file where the user can download version 5.11 of the Show Box app.

            32.    The                                                              website

  https://www.mediafire.com/file/uure2xsrhvpvk8l/latestshowboxapp.com_v5.11.ap



                                              10
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 11 of 58           PageID #: 11




  k/file is controlled by the file hosting company MediaFire, LLC which is

  headquartered in Texas.

            33.   MediaFire, LLC has indicated that a user who indicated himself by the

  name “Cybron Rocker” created an account on September 18, 2012 from IP address

  119.154.3.78 originating in Pakistan.

            34.   The user who identified himself as “Cybron Rocker” logged into his

  MediaFire account from IP address 103.255.4.17 on May 8, 2018 to upload the file

  “Latestshowbox.app.com .apk”.

            35.   Namecheap, Inc. has indicated that Defendant Zarlish used IP address

  103.255.4.17 on November 8, 2018 to pay for a transaction – the same IP address

  used by Cybron Rocker to upload the file “Latestshowbox.app.com .apk” on May

  8, 2018.

            36.   MediaFire, LLC has also indicated that “Cybron Rocker” used IP

  addresses 103.255.4.45, 103.255.4.14, 103.255.5.105, 103.255.5.81, 103.255.4.24

  and 103.255.5.44 originating in Pakistan, among other IP addresses, to login to the

  MediaFire account.

            37.   Upon information and belief, Defendant Zarlish uploaded the Show

  Box app to MediaFire, LLC to be made available to the general public.

            38.   Defendant Zarlish includes various images of Hollywood movies in

  the promotional language of the website.

                                             11
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 12 of 58           PageID #: 12




            39.   Upon information and believe, Defendant Zarlish does not have a

  license to distribute or publicly perform any of the movies he has illustrated on the

  website or that he allows for distribution via the Show Box app.

            40.   Defendant Zarlish used the IP addresses 103.255.5.73, 103.255.4.23,

  103.255.4.37, 103.255.4.246, 103.255.4.17 to login to the zarlish Namecheap

  account between June 7, 2018 and Nov. 29, 2018.

            41.   During time periods very near or overlapping the time period

  Defendant Zarlish used these IP address to login to his Namecheap account, cross


                                            12
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 13 of 58          PageID #: 13




  reference (“X-Ref”) data indicated that unique hash values for the motion pictures

  The Hitman’s Bodyguard, London Has Fallen and Mechanic: Resurrection were

  being shared via these IP addresses. See Exhibit “6”.

            42.   Plaintiffs sent a communication to Defendant Zarlish on March 12,

  2019 requesting him to cease promotion and distribution of piracy apps and pay a

  portion of Plaintiffs’ Damages.

            43.   Defendant Zarlish replied on March 14, 2019 that he “would like to

  cooperate and resolve it…Do I need to remove urls and pages? I already

  unpublished them”.

            44.   As of April 2, 2019, Defendant Zarlish still maintains a portion his

  website latestshowboxapp.com and still distributes the Show Box app through his

  mediafire page.

             Defendants Pebble Bridge Technologies, LLP and Vishnudath Reddy
                                        Mangilpudi

            45.   Defendant     Pebblebridge      Technologies,    LLP     (hereafter:

  “Pebblebridge”) is, upon information and belief, a partnership organized under the

  laws of India.

            46.   Defendant Pebblebridge operates a website pebblebridge.org at which

  it advertises itself as a “Digital Marketing Agency” providing “Search Engine

  Optimization (SEO)”, “Paid Advertising”, and “Content Marketing” as well as other

  services.
                                             13
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 14 of 58                PageID #: 14




            47.   As of February 4, 2019, pebblebridge.org lists the address 27 Division

  St., New York, NY 10002, United States of America under the heading “Contacts”.




            48.   Upon information and belief, Defendant Vishnudath Reddy

  Mangilpudi (hereafter: “Vishnudath”) is one of the partners in Pebblebridge.

            49.   Defendant    Pebblebridge    operated       the   interactive   websites

  showbox.fun as of at least December 8, 2018.

            50.   The websites showbox.fun and show-box.pro were hosted by the

  provider NameCheap, Inc.

            51.   Defendant    Pebblebridge        operates   the   interactive    website

  showboxforipad.com as of at least March 28, 2019.

            52.   The website showboxforipad.com is hosted by the provider Digital

  Ocean, LLC.
                                              14
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 15 of 58          PageID #: 15




            53.   Digital Ocean, LLC has indicated that an account for Defendant

  Pebblebridge had a “sign-up date” of December 5, 2017 07:20:29 with the email

  address accounts@pebblebridge.com.

            54.   Namecheap, Inc. has indicated that an account for Defendant

  Pebblebridge was created on July 17, 2018 3:44:53 am with the username

  “pebblebridge”.

            55.   Namecheap, Inc. has indicated that username pebblebridge created and

  registered the domain name show-box.pro on September 4, 2018.

            56.   Namecheap, Inc. further indicates that the pebblebridge username is

  the owner of numerous other domain names associated with infamous movie piracy

  software programs including: “terrariumtv.life”,         “moviebox.software” and

  “mobrdo.mobi”. See Exhibit “2”.

            57.   Namecheap, Inc. has indicated that an individual who identified

  himself as Vishnudath Reddy registered the domain “showbox.fun” on July 9, 2018

  at 4:04:48 AM via username Vishnudath. See Exhibit “3”.

            58.   Upon information and belief, Vishnudath Reddy is Defendant

  Vishnudath.

            59.   Defendant Vishnudath registered “showbox.fun” for the benefit of

  Defendant Pebblebridge and himself. See Exhibit “4”.



                                             15
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 16 of 58         PageID #: 16




            60.   Namecheap, Inc. has indicated that from IP address 49.206.194.182

  username Vishnudath logged onto his Namecheap account on July 9, 2018 at

  3:40:47 am. See Exhibit “3”.

            61.   Namecheap, Inc. has indicated that from IP address 49.206.194.182

  username pebblebridge logged into its Namecheap account on December 19, 2018

  at 12:57:36 am., the same IP address used by username Vishnudath. See Exhibit

  “2”.

            62.   Namecheap, Inc. has indicated that username Vishnudath registered

  for service for the domain showbox.fun and performed a “push” action to change

  the account holder to a username CheriECarlson from Vishnudath on July 9, 2018

  at 4:04:48 AM via

            63.   Namecheap, Inc. has indicated that from IP address 49.206.194.182

  username CheriECarlson logged into her Namecheap account on December 4, 2018

  at 8:53:59 am. See Exhibit “5”.

            64.   Digital Ocean has indicated that from IP address 49.206.194.182 the

  account associated with accounts@pebblebridge.com the user previously logged

  into the account.

            65.   Namecheap has indicated that the registration information for

  username CheriECarlsonan includes a name of Cheri E Carlson and an address in

  Sioux Falls, SD. Id.

                                            16
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 17 of 58         PageID #: 17




            66.   The   IP    address   49.206.194.182    from    which    username

  CheriECarlsonan logged into the account on December 4, 2018 is in India and same

  as those used by usernames Vishnudath and pebblebridge to login to their accounts.

  Id.

            67.   The pebblebridge, CheriECarlson and Vishnudath usernames shared a

  common payment source.

            68.   Upon information and belief, the name Cheri E Carlson and address

  are false.

            69.   Upon information and belief, the pebblebridge, CheriECarlson and

  Vishnudath usernames all belong to or are under the control of Defendant

  Pebblebridge.

            70.   Upon information and belief, Defendant Vishnudath performed the

  push action to change the Namecheap account name for showbox.fun to the

  fictitious person Cherie E Carlson to further add a layer of deception between

  Defendants Pebblebridge and Vishnudath and the public out of concern of the illegal

  nature of the website showbox.fun.

            71.   Defendant Pebblebridge has admitted that Defendant Vishnudath

  registered domain names for its benefit. See Exhibit “4”.

            72.   At all relevant times, Defendant Vishnudath was a partner, employee

  or affiliate of Defendant Pebblebridge.

                                            17
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 18 of 58        PageID #: 18




            73.   Defendant Pebblebridge is vicariously liable for the contributory

  copyright infringement of Defendant Vishnudath, as Defendant Vishnudath was

  acting within the scope of his employment and/or partnership when he committed

  the wrongful conduct described above, as Defendant Pebblebridge had the right and

  the power to directly control the activities of Defendant Vishnudath, and as

  Defendant Pebblebridge received a direct financial benefit, financial advantages,

  and/or other economic consideration from the infringing activities of Defendant

  Vishnudath.

            74.   On their website show-box.pro, Defendants Pebblebridge and

  Vishnudath described the Show Box app as “…allows you to stream unlimited live

  movies…TV shows and more in HD quality for free.”




                                           18
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 19 of 58          PageID #: 19




            75.   On the website show-box.pro, the Defendant Pebblebridge states, “The

  app is not available in the Google Play Store but can be downloaded on Android

  mobiles with the help of a link.”




                                             19
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 20 of 58           PageID #: 20




            76.   The website show-box.pro includes a link “Showbox Official site”

  which redirects to the website showbox.fun when clicked.

            77.   The website showbox.fun state, “Showbox offers free movies and TV

  shows for free…It only requires a strong internet connection and you can stream

  any movie online.”

            78.   The website includes a portion entitled: “How to Download Showbox

  APK,” which includes detailed instructions on how to install and operate the Show

  Box app.

            79.   The website showbox.fun states “If you are using Netflix, Prime Video

  movie streaming app then you should consider using showbox also.”.




                                             20
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 21 of 58      PageID #: 21




            80.   The website showbox.fun states, “…Showbox is not available over

  Google Play Store…Don’t worry! Right from this post, you can download Official

  APK.”




            81.   The website showbox.fun includes a link to download Show Box

  Version 5.11.




                                           21
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 22 of 58       PageID #: 22




            82.   Below the download link, the website includes a comment section

  where Defendants Pebblebridge and Vishnudath exchange comments with users.

            83.   On November 10, 2018 at 1:30 am, one user posted a comment

  expressing concern that a television program had not been added since episode 8.

  Defendants Pebblebridge and Vishnudath replied later that day at 12:07 pm, “We

  will try to add asap!”.

            84.   Defendant Vishnudath stated in an email on January 18, 2019, “…I

  think we already remove the download link” and “I believe 40 days back…we

  removed that download /whole page about “Showbox”, in reply to an inquiry from

  Plaintiffs’ counsel of the circumstances of Defendant Pebblebridge’s placement of

  the Show Box app on the websites showbox.fun and show-box.pro.
                                           22
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 23 of 58       PageID #: 23




            85.   Defendants Pebblebridge and Vishnudath used the IP addresses

  103.224.156.73,         178.73.198.234,        160.238.75.179,   49.206.194.182,

  160.238.75.179, 14.143.32.2, 49.204.57.69, 49.206.210.102, 49.206.215.108,

  49.206.217.231, 103.224.153.121, 160.238.75.179 and 160.238.74.246 to log onto

  the Namecheap accounts under their control repeatedly between April 19, 2013 and

  January 3, 2019. See Exhibits 2-5.

            86.   During time periods very near or overlapping the time period

  Defendants Pebblebridge and Vishnudath used these IP address to login to the

  Namecheap accounts under their control, cross reference (“X-Ref”) data indicated

  that unique hash values for the motion pictures London Has Fallen, I Am Wrath,

  Naa Nuuve, The Hitman’s Bodyguard and Once Upon a Time in Venice were being

  shared via these IP addresses. See Exhibit “6”.

            87.   During time periods very near or overlapping the time period

  Defendants Pebblebridge and Vishnudath used the IP address 178.73.198.234 to

  login to the Namecheap accounts under their control, the Plaintiffs’ investigator

  confirmed the motion pictures Automata, London Has Fallen, Good Kill, Criminal,

  Mechanic: Resurrection being copied via the BitTorrent protocol application by

  Unique Hash Numbers at IP address 178.73.198.234. Id.

            88.   Upon information and belief, Defendants Pebblebridge and

  Vishnudath copied Plaintiff’s motion picture London Has Fallen and shared it via

                                            23
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 24 of 58                PageID #: 24




  its Unique Hash Number to individuals in the United States and in Hawaii in

  particular.

                                      Defendant Hoan Phan

            89.   Upon information and belief, Defendant Hoan Phan is a resident of Ha

  Noi, Vietnam.

            90.   Defendant    Hoan     Phan        operated   an   interactive    website

  showboxofficial.com up to January 10, 2019.

            91.   As of December 2018, the website showboxofficial.com received over

  45 percent of its traffic from the United States.




                                               24
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 25 of 58        PageID #: 25




            92.   On the website showboxofficial.com, Defendant Hoan Phan described

  the Show Box app as “The Best Video Streaming App ever”, “Showbox is totally

  free of charge while delivering high-quality video…like Movies and TV shows...”




            93.   On the website showboxofficial.com, Defendant Hoan Phan further

  described Show Box app as “No restrictions…Watch any movie or TV Show as

  many times as you want. All you need to get started with Showbox is a proper

  Internet connection”, and “100% FREE…No subscription fee or license charge. IT

  IS ABSOLUTELY FREE!”




                                           25
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 26 of 58            PageID #: 26




            94.   On the website showboxofficial.com, Defendant Hoan Phan includes

  links to downloading Show Box versions 5.11, 5.21 and 5.23.

            95.   Defendant Hoan Phan admitted to obtaining at least one of the versions

  of Show Box app he made available for download on his website

  showboxofficial.com from the website showbox.fun of Defendant Pebblebridge.

            96.   On the website showboxofficial.com, Defendant Hoan Phan also

  includes links to downloading Show Box versions for I-phone, I-pad, X-Box, PS4,

  Windows, Linux, Kodi and Chromechast.

            97.   NameCheap, Inc. has indicated that an individual who identified

  herself as Elizabeth Roberts with username “elizabethroberts” is the Registrant

  Contact, Administrative Contact, Technical Contact and Billing Contact for the

  website showboxofficial.com as of Dec. 20, 2018.

            98.   The IP address login history for elizabethroberts includes IP address

  45.77.20.245 on October 15, 2018.
                                             26
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 27 of 58                  PageID #: 27




            99.        The IP address 45.77.20.245 was assigned to the Internet Service

  Provider Choopa, LLC, which is located in Matawan, NJ.

            100. Choopa, LLC indicated that the IP address 45.77.20.245 was assigned

  to Defendant Hoan Phan from April 4, 2017 with e-mail address

  hoan.pham@live.com.

            101. When contacted at hoan.pham@live.com to inquire about his

  relationship with the Show Box app, Defendant Hoan Phan replied on December

  10, 2018 by stating, “I am not the owner of showboxofficial.com. I don’t even know

  what it is…!

            102. Defendant Hoan Phan further stated that he provided the IP address

  45.77.20.245 as an “OpenVPN service” to share across the world.

            103. When inquired about his motivation for allowing anyone in the world

  to use his IP address 45.77.20.245, Defendant replied that “The reason…is mostly

  because         of     Internet   censorship…”        and   that   he   wanted   to   “make

  something…for…my Vietnamese community, for a freedom of internet in

  Vietnam.”




                                                   27
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 28 of 58            PageID #: 28




            104. Namecheap, Inc. indicated that the individual who identified herself as

  Elizabeth Roberts registered the domain showboxofficial.com with Namecheap on

  11/28/2018 via a “push” transaction from a username hoanpv01.

            105. The hoanpv01 username registered showboxofficial.com with

  Namecheap, Inc. on September 16, 2018.

            106. The hoanpv01 username included the name “Elizabeth Roberts”, but

  with an address in Vietnam.

            107. The login history for hoanpv01 includes multiple logins from IP

  address 45.77.20.245 in 2018.

            108. Upon information and belief, Defendant Hoan Phan registered the

  domain showboxofficial.com under the fictitious person Elizabeth Roberts to

  further add a layer of deception between himself and the public out of concern of

  the illegal nature of the website showboxofficial.com.

            109. On January 10, 2019, Plaintiffs’ counsel sent an email to Defendant

  Hoan Phan referencing the Namecheap information indicating that Defendant Hoan

  Phan had purchased the domain showboxofficial.com despite his earlier statement

  that “I don’t even know what [the Show Box app] is…!

            110.   Defendant Hoan Phan did not reply to the email, but immediately

  begin redirecting showboxofficial.com to a website show-box.one.



                                              28
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 29 of 58          PageID #: 29




            111. On January 18, 2019, Plaintiffs’ counsel sent an email communication

  to Defendant Hoan Phan: (1) requesting him to cease and desist redirecting

  showboxofficial.com to show-box.one; (2) requesting him to cease promoting

  and/or distributing Show Box and any other piracy applications; and (3) requesting

  damages and attorneys’ fees for the infringing activity.

            112. On January 20, 2019, Defendant Hoan Phan sent a reply email in which

  he agreed to stop redirecting to show-box.one and distributing and/or promoting the

  Show Box app.




            113. Defendant Hoan Phan refused to pay any damages for the

  infringements associated with his website.

            114. Defendant Hoan Phan used the IP address 64.62.175.44 to login to the

  elizabethroberts Namecheap account on 12/17/2018.

            115. The IP address 64.62.175.44 is assigned to the ISP Hurricane Electric

  in Sonora, California.




                                             29
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 30 of 58                 PageID #: 30




            116. On Dec. 17, 2018, the Plaintiffs investigator recorded a motion picture

  referred to here as DPM being copied via a BitTorrent protocol application at IP

  address          64.62.175.44         with          a       peer     identification     of

  2D5554353333302D5871437769316B352A497547. See Exhibit “7”.

            117. On Feb. 4, 2017, the Plaintiffs investigator confirmed the motion

  picture Mechanic: Resurrection being copied via the BitTorrent protocol

  application at IP address 64.62.174.44 with a peer identification of

  2D5554333430422D74A6A0BFF13260A233DE7A08 on Feb. 4, 2017. Id.

            118. On Jan. 16, 2018, the Plaintiffs investigator confirmed the motion

  picture London Has Fallen being copied via the BitTorrent protocol application at

  IP        address      64.62.174.44          with       a     peer    identification    of

  2D5554333439302D4DA80D2DCC13C79FB03CDEFD on Jan. 16, 2017. Id.

            119. Upon information and belief, (the common peer identification prefix

  of “2D55543” and common IP address) Defendant Phan is the individual at IP

  address 64.62.174.44 who copied the Plaintiff’s motion picture London Has Fallen

  and shared copies of it via its Unique Hash Number in the United States and in

  Hawaii in particular.

                                   Defendant Nghi Phan Nhat

            120. Upon information and belief, Defendant Nghi Phan Nhat is a resident

  of Haiduong, Vietnam.

                                                 30
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 31 of 58               PageID #: 31




            121. Defendant Nghi Phan Nhat operates the interactive website

  apkmirrordownload.com as of March 15, 2019.

            122. Defendant       Nghi   Phan     Nhat       registered     the    domain

  apkmirrordownload.com on June 20, 2016 through the domain registrar Namesilo,

  LLC (a United States company based in Arizona).

            123. As of March 15, 2019, the website apkmirrordownload.com received

  over 7.6 percent of its traffic from the United States.




            124. The   website    apkmirrordownload.com       includes     the   webpage

  www.apkmirrordownload.com/apk/show-box-5-03-110-apk/                   where     various

  versions of the Show Box app are available for download.
                                            31
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 32 of 58                 PageID #: 32




            125. The     website   apkmirrordownload.com       includes      the   webpage

  www.apkmirrordownload.com/apk/popcorn-time-3-1-0-123-apk/ where various

  versions of the piracy app Popcorn Time are available for download.

            126. On March 12, 2019, Plaintiffs’ counsel sent a copyright notification

  via          email       and        airmail        concerning        the         websites

  www.apkmirrordownload.com/apk/show-box-5-03-110-apk/                                  and

  www.apkmirrordownload.com/apk/popcorn-time-3-1-0-123-apk/. As of March 28,

  2019, both interactive websites are still active and distributing the piracy apps Show

  Box and Popcorn Time.



                                      IV.    JOINDER

            127. Pursuant to Fed. R. Civ. P. 20(a)(1), each of the Plaintiffs are properly

  joined because, as set forth in detail above and below, the Plaintiffs assert: (a) a right

  to relief arising out of the same transaction, occurrence, or series or transactions,

  namely the promotion and distribution of and use of the Show Box app for streaming

  and distributing Plaintiffs’ Works; and (b) that there are common questions of law

  and fact.

            128. Pursuant to Fed. R. Civ. P. 20(a)(2), each of the Defendants was

  properly joined because, as set forth in more detail below, the Plaintiffs assert: (a) a

  right to relief arising out of the same transaction, occurrence, or series or

                                                32
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 33 of 58            PageID #: 33




  transactions, namely the promotion and distribution of the Show Box app for

  streaming and distributing Plaintiffs’ Works; and (b) there are common questions of

  law and fact.

                           V.    FACTUAL BACKGROUND
            A. The Plaintiffs Own the Copyrights to the Works

            129. The Plaintiffs are the owners of the copyright in the Works,

  respectively. The Works are the subjects of copyright registrations, and this action

  is brought pursuant to 17 U.S.C. § 411. See Exhibit “1”.

            130. Plaintiffs Hunter Killer Productions, LHF Productions, Inc. and

  Bodyguard Productions, Inc. are corporations registered under the laws of the State

  of Nevada having principal offices in Los Angeles, California. The Plaintiffs Hunter

  Killer Productions, LHF Productions, Inc. and Bodyguard Productions, Inc. are

  affiliates of Millennium Media, a production company and distributor of a notable

  catalog of major motion pictures, including. See www.millenniumfilms.com.

            131. Plaintiffs TBV Productions, LLC and Venice PI, LLC are California

  limited liability companies having their principal offices in Los Angeles, California.

  The Plaintiffs are affiliates of Voltage Pictures, a production company with a

  notable catalog of major award winning motion pictures, such as, for example,

  Dallas Buyers Club, by independent film makers. See www.voltage pictures.com.



                                            33
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 34 of 58             PageID #: 34




            132. Due to Plaintiffs’ production and marketing efforts, there is consumer

  demand for viewing the Works.

            133. Each of the Works are motion pictures currently offered for sale in

  commerce.

            134. Defendants had notice of Plaintiffs’ rights through at least the credits

  indicated in the content of the motion pictures which bore proper copyright notices.

            135. Defendants also had notice of Plaintiffs’ rights through general

  publication and advertising associated with the motion picture, and packaging and

  copies, each of which bore a proper copyright notice.

            B. The Defendants’ Show Box app intentionally induce users’

            Infringements of the Plaintiffs’ Copyrights

            136. The Show Box app provides an interface so that users can easily copy

  copyright protected content. The home interface includes a search bar where a user

  can enter words associated with a copyright protected motion picture they wish to

  copy, title art of popular movies, and advertisement banners.




                                              34
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 35 of 58           PageID #: 35




            137. Simply entering a title associated with a motion picture automatically

  returns a narrowed selection of motion pictures along with the advertisement

  banner.




                                             35
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 36 of 58         PageID #: 36




            138. Upon choosing a title from the narrowed selection, the Show Box app

  provides two options for copying the content: “WATCH NOW” and

  “DOWNLOAD” along with the advertisement banner.




                                            36
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 37 of 58    PageID #: 37




            139. After selection “WATCH NOW”, the Show Box app first reproduces

  a             short        advertisement        for        a         product.




                                             37
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 38 of 58      PageID #: 38




            140. After the advertisement concludes, the Show Box app reproduces a

  complete copy of the selected motion picture – in the below case The Hitman’s

  Bodyguard.




                                          38
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 39 of 58          PageID #: 39




            141. Upon information and belief, the Show Box app is using one or more

  addons for streaming infringing content, including Plaintiffs’ Works. These addons

  are designed and maintained for the overarching purpose of scouring the Internet

  for illegal sources of copyrighted content and returning links to that content. When

  Show Box app users click the “WATCH NOW” button, the user receives

  unauthorized streams of popular motion pictures, including Plaintiffs’.

            142. When the user chooses the DOWNLOAD button, the Show Box app

  automatically begins searching for peers that are sharing a torrent file associated

  with the selected motion picture. The interface even allows the user to copy

  multiple motion pictures at the same time.


                                           39
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 40 of 58           PageID #: 40




            143. Above the DOWNLOAD button is written, “Also, you can download

  this movie from Torrents”. The Show Box app is using the BitTorrent client

  application protocol to automatically search Torrent sites and find peers to allow

  users to download copyright protected content, including Plaintiffs’ Works.

            144. Torrent sites are websites that index torrent files that are currently

  being made available for copying and distribution by peers using the BitTorrent

  protocol. When Show Box app users click the DOWNLOAD button, the user

  begins receiving different piece of the copyrighted Works from peers.

            145. Once a Show Box app user has downloaded the full file, the BitTorrent

  Client reassembles the pieces and the Show Box app user is able to view the movie

  while distributing the torrent file, here the copyrighted Works.


                                             40
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 41 of 58          PageID #: 41




            146. Neither Defendants nor their Show Box app have a license from

  Plaintiffs to stream and/or download copies of Plaintiffs’ Works.

            147. Defendants advertise the Show Box app for being used for infringing

  Copyright protected Works, including Plaintiffs.

            148. Defendants’ users use the Show Box app for its intended and

  unquestionably infringing purposes, most notably to obtain immediate, unrestricted,

  and unauthorized access to unauthorized copies of Plaintiffs’ Copyrighted Works.

            149. Defendants promote the use of the Show Box app user for

  overwhelmingly, if not exclusively, infringing purposes, and that is how the users

  use the Show Box app.

            150. Defendants urge the Show Box app users to stream or download

  infringing content.

            151. The commercial value of Defendants’ Show Box app business depends

  on high-volume use of unauthorized content through the Show Box app.

  Defendants promise the Show Box app users reliable and convenient access to all

  the content they can stream and download and users install the Show Box app on

  their devices based on Defendants’ apparent success in delivering infringing content

  to their customers.

            152. The Show Box app includes numerous advertisements that, upon

  information and belief, provides financial compensation to Defendants.

                                            41
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 42 of 58             PageID #: 42




            C. The Defendants Misrepresent the Legality of the Show Box app in the

            promotional language on their websites.

            153. Defendants have promoted and/or advertised the Show Box app

  commercially in interstate commerce by their websites.

            154. Defendants have distributed the Show Box app in interstate commerce

  by their websites directly or indirectly by linking to sources to download the Show

  Box app.

            155. Defendants falsely describe the Show Box app as a legal means for

  consuming Copyright protected content.

            156. Defendants misleadingly describe the Show Box app as a legal means

  for consuming Copyright protected content.

            157. Defendants’    misleading   statements    and/or    false   descriptions

  misrepresent the nature, characteristics, qualities of their services.

            158. Particularly, Defendants’ statements that the Show Box app can be

  used to watch any movie misrepresent the illegal nature of the Show Box app.

            159. Particularly, Defendants’ omission that using the Show Box app as

  promoted by Defendants would subject the user to copyright infringement

  misrepresents the illegal nature of the Show Box app.

            160. Defendants advertise, promote, market and distribute the Show Box

  app on their websites for the purpose of watching free movies. Accordingly,

                                             42
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 43 of 58          PageID #: 43




  Defendants have made and distributed in interstate commerce and in this District,

  commercial advertising or promotions that contains false or misleading

  representations of fact.

            161. The Defendants have not obtained a license from Plaintiffs or, upon

  information or belief, any Copyright holders to publicly perform or distribute their

  motion pictures.

            162. Defendants do not mention the illegality of the Show Box app in their

  promotional language of their websites.

            163. Defendants have gone to great lengths to conceal themselves from the

  public, including by using multiple false identities and addresses associated with

  their operations and purposely deceptive contact information for their websites in

  connection with registering and hosting their websites.

            164. Consumers are likely to be misled and deceived into believing the

  Show Box app is a legitimate platform for viewing Copyrighted motion pictures by

  the promotional language on Defendants’ websites.

            165. Defendants false and misleading promotions of the Show Box app are

  designed to entice consumers to use Defendants’ Show Box app for viewing motion

  pictures rather than retailers, distributors or streaming services licensed by

  Plaintiffs.



                                             43
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 44 of 58          PageID #: 44




            166. The Show Box app users in Hawaii are motivated to download and use

  the Show Box app for its infringing purpose because of the promotions of

  Defendants of the Show Box app as an application for infringing copyright

  protected Works, including Plaintiffs.

            167. Because Defendants do not pay for a license to distribute or publicly

  perform any motion pictures, they can distribute the Show Box app for nothing

  while profiting from advertisements on their websites and on the Show Box app

  itself. In this way, Defendants entice consumers who would otherwise pay to own

  and/or watch Plaintiffs’ Works on a legitimate platform. In doing so, Defendants

  wrongfully mislead and deceive consumers into believing that they are using a

  legitimate platform to watch and/or copy Plaintiffs’ Works, when in fact consumers

  are putting themselves at risk for criminal and civil penalties for Copyright

  Infringement.

            168. Defendants benefit financially from the infringement of the Works by

  the Hawaii users of the Show Box app.

            169. Plaintiffs are informed and believe that Defendants’ wrongful conduct

  has resulted in increased distribution of the Show Box app while hindering the sale

  of Plaintiffs’ Works through legitimate distribution channels.       Plaintiffs have

  sustained and will sustain damages as a result of Defendants’ wrongful conduct.

            C. The Defendants contributed to Infringements of Plaintiffs’ Copyrights

                                             44
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 45 of 58         PageID #: 45




            in their Works.

            170. Upon information and belief, the individuals, in Hawaii, at IP

  addresses 1-7 shown in Exhibit “8” installed the Show Box app on their respective

  devices and used it to download and/or share copies of the motion picture Hunter

  Killer between December 16, 2018 and January 17, 2019.

            171. Upon information and belief, the individuals, in Hawaii, at IP

  addresses 1-2 shown in Exhibit “9” installed the Show Box app on their respective

  devices and used it to download and/or share copies of the motion picture The

  Hitman’s Bodyguard between December 24, 2018 and January 3, 2019.


                            VI. FIRST CLAIM FOR RELIEF
              (Intentional Inducement of Streaming against all Defendants)

            172. Plaintiffs re-allege and incorporate by reference the allegations

  contained in each of the foregoing paragraphs.

            173. Plaintiffs are the copyright owners of the Works which each contains

  an original work of authorship.

            174. Defendants have actual knowledge of third parties’ infringement of

  Plaintiffs’ exclusive rights under the Copyright Act.

            175. Defendants intentionally induce the infringement of Plaintiffs’

  exclusive rights under the Copyright Act, including infringement of Plaintiffs’

  exclusive right to publicly perform their Copyrighted Works. As intended and

                                            45
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 46 of 58         PageID #: 46




  encouraged by Defendants, the Show Box app connects customers to unauthorized

  online sources that stream Plaintiffs’ Copyrighted Works. The operators of these

  source repositories directly infringe Plaintiffs’ public performance rights by

  providing unauthorized streams of the works to the public, including to Show Box

  app users. These operators, or others operating in concert with them, control the

  facilities and equipment used to store and stream the content, and they actively and

  directly cause the content to be streamed when Show Box app users click on a link

  for the content.

            176. Defendants induce the aforementioned acts of infringement by

  supplying the Show Box app that facilitates, enables, and creates direct links

  between Show Box app users and the infringing operators of the streaming services,

  and by actively inducing, encouraging and promoting the use of their Show Box app

  for blatant copyright infringement.

            177. Defendants intentional inducement of the infringement of Plaintiffs’

  rights in each of their Copyrighted Works constitutes a separate and distinct act of

  infringement.

            178. Defendants inducement of the infringement of Plaintiffs’ Copyrighted

  Works is willful, intentional, and purposeful, and in disregard of and with

  indifference to the rights of the Plaintiffs.

            179. Defendants’ actions are a direct and proximate cause of the

                                              46
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 47 of 58          PageID #: 47




  infringements of Plaintiffs’ Works.

            180. As a result of the foregoing, each Defendant violated the Plaintiffs’

  exclusive right to: (C) Perform the copyrighted Work, in violation of 17 U.S.C. §§

  106(4) and 501, by showing the Work’s images; and, (D) Display the copyrighted

  Work, in violation of 17 U.S.C. §§ 106(5) and 501, by showing individual images of

  the Work non-sequentially and transmitting said display of the Work by means of a

  device or process to members of the public capable of receiving the display (as set

  forth in 17 U.S.C. § 101’s definition of “publicly” display.)

            181. Each of the Defendants’ infringements was committed “willfully”

  within the meaning of 17 U.S.C. § 504(c)(2).

                              VII. SECOND CLAIM FOR RELIEF
                 (Intentional Inducement of Torrenting against all Defendants)

            182. Plaintiffs re-allege and incorporate by reference the allegations

  contained in each of the foregoing paragraphs.

            183. Plaintiffs are the copyright owners of the Works which each contains

  an original work of authorship.

            184. Defendants have actual knowledge of third parties’ infringement of

  Plaintiffs’ exclusive rights under the Copyright Act.

            185. Defendants intentionally induce the infringement of Plaintiffs’

  exclusive rights under the Copyright Act, including infringement of Plaintiffs’

  exclusive right to distribute copies of Copyrighted Works. As intended and
                                             47
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 48 of 58           PageID #: 48




  encouraged by Defendants, the Show Box app connects users to Torrent sources

  and/or sites that deliver copies of Plaintiffs’ Copyrighted Works. The operators of

  these Torrent sources directly infringe Plaintiffs’ exclusive rights by providing

  unauthorized copies of the works to the public, including to Show Box app users.

            186. Once the Show Box app user has obtained a complete copy of the

  Plaintiffs’ Copyrighted Works, that particular user also becomes another Torrent

  source that delivers copies of Plaintiffs’ Copyrighted Works.

            187. These operators, or others operating in concert with them, control the

  facilities and equipment used to store and distribute the content, and they actively

  and directly cause the content to be distributed when Show Box app users click on a

  link for the content.

            188. Defendants induce the aforementioned acts of infringement by

  supplying the Show Box app that facilitates, enables, and creates direct links

  between their users and the infringing Torrent sources, and by actively inducing,

  encouraging and promoting the use of their Show Box app for blatant copyright

  infringement.

            189. Defendants intentional inducement of the infringement of Plaintiffs’

  rights in each of their Copyrighted Works constitutes a separate and distinct act of

  infringement.

            190. Defendants inducement of the infringement of Plaintiffs’ Copyrighted

                                             48
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 49 of 58            PageID #: 49




  Works is willful, intentional, and purposeful, and in disregard of and with

  indifference to the rights of the Plaintiffs.

            191. Defendants’ actions are a direct and proximate cause of the

  infringements of Plaintiffs’ Works.

            192. As a result of the foregoing, each Defendant violated the Plaintiffs’

  exclusive right to: (B) Redistribute copies of the Work to the public by sale or other

  transfer of ownership, or by rental, lease or lending, in violation of 17 U.S.C. §§

  106(3) and 501.

            193. Each of the Defendants’ infringements was committed “willfully”

  within the meaning of 17 U.S.C. § 504(c)(2).

                                VIII. THIRD CLAIM FOR RELIEF
                   (Contributory Copyright Infringement based upon Material
                                Contribution against all Defendants)
            194. Plaintiffs re-allege and incorporate by reference the allegations

  contained in each of the foregoing paragraphs.

            195. Defendants have actual or constructive knowledge of infringement of

  Plaintiffs’ exclusive rights under the Copyright Act. Defendants knowingly and

  materially contribute to such infringing activity.

            196. Defendants knowingly and materially contribute to the infringement of

  Plaintiffs’ exclusive rights under the Copyright Act, including infringement of

  Plaintiffs’ exclusive right to publicly perform and distribute their works. Defendants

  design and promote the use of the Show Box app to connect customers to
                                              49
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 50 of 58            PageID #: 50




  unauthorized online sources that stream and download copies of Plaintiffs’

  Copyrighted Works. The operators of these source repositories directly infringe

  Plaintiffs’ public performance rights by providing unauthorized streams and/or

  copies of the Works to the public, including to Show Box app users. The operators,

  or others operating in concert with them, control the facilities and equipment used

  to store and stream or deliver copies of the content, and they actively and directly

  cause the content to be streamed and/or distributed when Show Box app users click

  on a link for the content.

            197. Defendants knowingly and materially contribute to the aforementioned

  acts of infringement by supplying the software application that facilitates,

  encourages, enables, and creates direct links between Show Box app users and

  infringing operators of the streaming and Torrent services, and by actively

  encouraging, promoting, and contributing to the use of their Show Box app for blatant

  copyright infringement.

            198. Defendants knowing and material contribution to the infringement of

  Plaintiffs’ rights in each of their Copyrighted Works constitutes a separate and

  distinct act of infringement.

            199. Defendants knowing and material contribution to the infringement of

  Plaintiffs’ Copyrighted Works is willful, intentional, and purposeful, and in disregard

  of and with indifference to the rights of Plaintiffs.

                                             50
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 51 of 58          PageID #: 51




            200. As a direct and proximate result of the infringement to which

  Defendants knowingly and materially contribute, Plaintiffs are entitled to damages

  and Defendants’ profits in amounts to be proven at trial.

            201. Defendants obtained a direct financial interest, financial advantage,

  and/or economic consideration from the infringements in Hawaii as a result of their

  infringing actions in the United States.

            202. Defendants’ actions are a direct and proximate cause of the

  infringements of Plaintiffs’ Works.

            203. As a result of the foregoing, each Defendant violated the Plaintiffs’

  exclusive right to: (A) Reproduce the Work in copies, in violation of 17 U.S.C. §§

  106(1) and 501; (B) Redistribute copies of the Work to the public by sale or other

  transfer of ownership, or by rental, lease or lending, in violation of 17 U.S.C. §§

  106(3) and 501; (C) Perform the copyrighted Work, in violation of 17 U.S.C. §§

  106(4) and 501, by showing the Work’s images; and, (D) Display the copyrighted

  Work, in violation of 17 U.S.C. §§ 106(5) and 501, by showing individual images of

  the Work non-sequentially and transmitting said display of the Work by means of a

  device or process to members of the public capable of receiving the display (as set

  forth in 17 U.S.C. § 101’s definition of “publicly” display.)

            204. Each of the Defendants’ infringements was committed “willfully”

  within the meaning of 17 U.S.C. § 504(c)(2).

                                             51
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 52 of 58           PageID #: 52




                          IX. FOURTH CLAIM FOR RELIEF
            (Copyright Infringement against Defendants Zarlish, Vishnudath,
                             Pebblebridge and Hoan Phan)

            205. Plaintiffs re-allege and incorporate by reference the allegations

  contained in each of the foregoing paragraphs.

            206. Defendant Zarlish reproduced copies of Plaintiff Bodyguard

  Productions Inc.’s motion picture The Hitman’s Bodyguard and the Plaintiff LHF

  Productions Inc.’s motion picture London Has Fallen at the IP address 103.255.5.73

  and shared copies of the motion pictures via the respective hashes as shown in Exhibit

  “6” with users in the United States.

            207. Defendants Vishnudath and Pebblebridge reproduced copies of

  Plaintiffs’ motion picture London Has Fallen at the IP address 178.73.198.234 and

  shared copies of the motion pictures via the Unique Hash Numbers:

  6CF0820EE3A3A84F7BD77A792E9279CE47B5C864;

  2BCABA13AD09DAD0F6576C29ADF3965579B8831C;

  3DAAD5C4A9E96E8229E553877CC4B79CE1E4E6A3;                                         and

  AC09FC05533F2D9C8DDB8CF75916F4426635C2E3 as shown in Exhibit “6” with

  users in the United States.

            208. Defendant Hoan Phan reproduced copies of Plaintiff LHF Productions

  Inc.’s motion picture London Has Fallen at the IP address 64.62.175.44 in the United

  States and shared copies of the motion pictures via the Unique Hash Number

                                           52
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 53 of 58          PageID #: 53




  37F407E62791145B41B776777D135DBE3CD43F6E with users in the United

  States.

            209. The Plaintiffs did not authorize, permit, or provide consent to the

  Defendants to copy, reproduce, redistribute, perform, or display the motion pictures.

            210. As a result of the foregoing, each Defendant violated the Plaintiffs’

  exclusive right to: (A) Reproduce the Work in copies, in violation of 17 U.S.C. §§

  106(1) and 501; (B) Redistribute copies of the Work to the public by sale or other

  transfer of ownership, or by rental, lease or lending, in violation of 17 U.S.C. §§

  106(3) and 501; (C) Perform the copyrighted Work, in violation of 17 U.S.C. §§

  106(4) and 501, by showing the Work’s images; and, (D) Display the copyrighted

  Work, in violation of 17 U.S.C. §§ 106(5) and 501, by showing individual images of

  the Work non-sequentially and transmitting said display of the Work by means of a

  device or process to members of the public capable of receiving the display (as set

  forth in 17 U.S.C. § 101’s definition of “publicly” display.)

            211. Each of the Defendants’ infringements was committed “willfully”

  within the meaning of 17 U.S.C. § 504(c)(2).

                                VII. FIFTH CLAIM FOR RELIEF
                             (False Description against all Defendants)


            212. Plaintiffs re-allege and incorporate by reference the allegations

  contained in each of the foregoing paragraphs.

                                             53
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 54 of 58            PageID #: 54




            213. Upon information and belief, Defendants have made and distributed in

  interstate commerce in in this District, advertisements that contain false or

  misleading statements of fact regarding the Show Box app. These advertisements

  contain actual misstatements and/or misleading statements and failures to disclose,

  among other, the statement that Defendants’ Show Box app can be used to watch

  free movies without describing its illegality.

            214. Upon information and belief, these or misleading statements actually

  deceive or have a tendency to deceive, a substantial segment of Plaintiffs’ customers

  and potential customers. This deception is material in that is likely to influence the

  purchasing decisions of Plaintiffs’ customers.

            215. Defendants false and misleading advertising statements and omissions

  injure both consumers and Plaintiffs.

            216. Defendants false and misleading advertising statements and omissions

  violate the Lanham Act §43(a), 15 U.S.C. §1125(a).

            217. Defendants have caused and will continue to cause, immediate and

  irreparable injury to Plaintiffs, including injury to its business, reputation, and

  goodwill, for which there is no adequate remedy at law. As such, Plaintiffs are

  entitled to an injunction under 15 U.S.C. §1116 restraining Defendants, their agents,

  employees, representatives and all persons acting in concert with them from

  engaging in further acts of false advertising, and ordering removal of all

                                            54
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 55 of 58              PageID #: 55




  Defendants’ false advertisements.

            218. Pursuant to 15 U.S.C. §1117, Plaintiffs are entitled to recover from

  Defendants the damages sustained by Plaintiffs as a result of Defendants’ acts in

  violation of Lanham Act §43(a). Plaintiffs are at present unable to ascertain the full

  extent of the monetary damages it has suffered by reason of Defendants’ acts.

            219. Pursuant to 15 U.S.C. §1117, Plaintiffs are further entitled to recover

  from Defendants the gains, profits and advantages that they have obtained as a result

  of their acts. Plaintiff is at present unable to ascertain the full amount of the gains,

  profits and advantages Defendants have obtained by reason of their acts.

            220. Pursuant to 15 U.S.C. §1117, Plaintiffs are further entitled to recover

  costs of this action. Moreover, Plaintiffs are informed and believe, and on that basis

  allege, that Defendants conduct was undertaken willfully and with the intention of

  causing confusion, mistake or deception, making this an exceptional case entitling

  Plaintiffs to recover additional damages and reasonable attorneys’ fees.

                                 VII. SIXTH CLAIM FOR RELIEF
                             (Unfair Competition against all Defendants)

            221. Plaintiffs re-allege and incorporate by reference the allegations

  contained in each of the foregoing paragraphs.

            222. Defendants are competitors of Plaintiffs in distributing Plaintiffs’

  motion pictures.       Particularly, Defendants’ Show Box app which Defendants


                                              55
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 56 of 58         PageID #: 56




  promote and distributes competes with the distribution channels Plaintiffs have

  licensed for selling their motion pictures.

            223. The conduct of Defendants, as set forth above, constitutes unfair

  methods of competition in the conduct of trade or commerce prohibited by H.R.S.

  § 480-2.

            224. Specifically, Defendants unfairly compete against Plaintiffs by

  misleading and confusing customers to believe that the Show Box app is a legitimate

  platform for viewing Copyright protected content.

            225. The conduct of Defendants has caused and will cause injury to

  Plaintiffs’ business and Works.

                              VII. SEVENTH CLAIM FOR RELIEF
                         (Deceptive Trade Practices against all Defendants)

            226. Plaintiffs re-allege and incorporate by reference the allegations

  contained in each of the foregoing paragraphs.

            227. Defendants are competitors of Plaintiffs in distributing Plaintiffs’

  motion pictures.      Particularly, Defendants’ Show Box app which Defendants

  promote and distributes competes with the distribution channels Plaintiffs have

  licensed for selling their motion pictures. The conduct of Defendants has affected

  competition in Hawaii.

            228. The conduct of Defendants, as set forth above, constitutes deceptive

  trade practices prohibited by H.R.S. § 480-2.
                                            56
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 57 of 58             PageID #: 57




            229. Specifically, Defendants promotion of the Show Box app for watching

  free movies without informing the public that Defendants do not have license to

  publicly perform or distribute Plaintiffs’ motion pictures are false or misleading

  statements of fact concerning the reasons why the Show Box app is free.

            230. Defendants have willfully engaged in these trade practices knowing

  them to be deceptive.

            231. The conduct of Defendants has caused and will cause injury to

  Plaintiffs’ business and Works.

                                     PRAYER FOR RELIEF

            WHEREFORE, the Plaintiffs respectfully requests that this Court:

            (A) enter temporary, preliminary and permanent injunctions enjoining each

  Defendant from continuing to infringe, induce and/or contribute to infringement of

  the Plaintiffs’ copyrighted Works and causing unfair competition;

            (B) Entry of an Order pursuant to 28 U.S.C §1651(a), The All Writs Act, that,

  the operators of the Defendants’ websites immediately remove all versions of the

  software application Show Box from their website;

            (C) Entry of an Order pursuant to 17 U.S.C. §512(j) and 28 U.S.C §1651(a),

  The All Writs Act, that, upon Plaintiffs’ request, those in privity with Defendants

  and those with notice of the injunction, including any Internet search engines, Web

  hosts, domain-name registrars, and domain name registries and/or their

                                              57
  20-013C
Case 1:19-cv-00168-LEK-KJM Document 1 Filed 04/03/19 Page 58 of 58                  PageID #: 58




  administrators that are provided with notice of the injunction, cease facilitating

  access to any or all domain names and websites through which Defendants engage

  in the distribution and promotion of the Show Box app;

            (D) award the Plaintiffs’ actual damages and Defendants’ profits in such

  amount as may be found; alternatively, at Plaintiffs’ election, for maximum statutory

  damages per Work pursuant to 17 U.S.C. § 504-(a) and (c);

            (E) award the Plaintiffs their reasonable attorneys’ fees and costs pursuant to

  17 U.S.C. § 505 and Hawaii statutes; and

            (F) grant the Plaintiffs any and all other and further relief that this Court deems

  just and proper.

            The Plaintiffs hereby demand a trial by jury on all issues properly triable by

  jury.



            DATED: Kailua-Kona, Hawaii, April 3, 2019.


                                       CULPEPPER IP, LLLC


                                       /s/ Kerry S. Culpepper
                                       Kerry S. Culpepper

                                       Attorney for Plaintiffs




                                                58
  20-013C
